 Case 2:24-cv-12684-DPH-DRG ECF No. 9, PageID.33 Filed 01/23/25 Page 1 of 6




                 UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

AMERICA FIRST FOUNDATION,  │ Case No. 2:24-cv-12684-DPH-DRG
                           │
        Plaintiff,         │ Hon. Denise Page Hood
                           │
     v.                    │ Mag. David R. Grand
                           │
CLAY STREET ENTERTAINMENT, │
LLC,                       │
                           │
        Defendant.         │
                           │

BRISTOW LAW, PLLC                   LAW OFFICE OF BEN GONEK, PLLC
Kyle J. Bristow (P77200)            Ben M. Gonek (P43716)
P.O. Box 453                        14290 Northline Rd.
St. Clair, MI 48079                 Southgate, MI 48195
(T): (248) 838-9934                 (T): (313) 963-3377
(F): (586) 408-6384                 (F): (313) 924-1284
(E): bristowlaw@gmail.com           (E): ben@goneklaw.com
Attorney for America First          Attorney for Clay Street Entertainment, LLC
Foundation
                              LAW OFFICE OF JAMES GEROMETTA
                              James R. Gerometta (P60260)
                              27 E. Flint St., Ste. 2
                              Lake Orion, MI 48362
                              (T): (313) 899-7826
                              (E): james@geromettalaw.com
                              Attorney for Clay Street Entertainment, LLC


           PARTIES’ JOINT FED. R. CIV. P. 26(f) STATEMENT


      NOW COMES America First Foundation (“Plaintiff”), by and through

Attorney Kyle J. Bristow, and Clay Street Entertainment, LLC (“Defendant”), by
 Case 2:24-cv-12684-DPH-DRG ECF No. 9, PageID.34 Filed 01/23/25 Page 2 of 6




and through Attorneys James R. Gerometta and Ben M. Gonek, and hereby submits

the Parties’ Joint Fed. R. Civ. P. 26(f) Statement pursuant to the Court’s Order

entered January 13, 2025 (ECF No. 8, PageID. 32):

 I. WHAT CHANGES SHOULD BE MADE IN THE TIMING, FORM, OR
REQUIREMENT FOR DISCLOSURES UNDER RULE 26(A), INCLUDING
 A STATEMENT OF WHEN INITIAL DISCLOSURES WERE MADE OR
                      WILL BE MADE
                  (Fed. R. Civ. P. 26(f)(3)(A))

   1. The Parties agree that they will serve their Initial Disclosures upon each other

no later than February 17, 2025.

II. THE SUBJECTS ON WHICH DISCOVERY MAY BE NEEDED, WHEN
DISCOVERY SHOULD BE COMPLETED, AND WHETHER DISCOVERY
    SHOULD BE CONDUCTED IN PHASES OR BE LIMITED TO OR
              FOCUSED ON PARTICULAR ISSUES
                   (Fed. R. Civ. P. 26(f)(3)(B))

   1. Discovery is needed to determine whether Plaintiff and/or Show Ready

Technologies, Inc. (a/k/a Success Strategies Unlimited, Inc.) entered into a rental

agreement and to determine the terms of any agreement.

   2. Discovery is needed to ascertain whether Plaintiff and/or Show Ready

Technologies, Inc. misled Defendant into the purpose of the rental agreement at

issue.

   3. Discovery is needed to ascertain to which extent, if any, Defendant was

actually aware that Plaintiff was the intended third-party beneficiary of any rental

agreement at issue in the controversy.

                                          2
 Case 2:24-cv-12684-DPH-DRG ECF No. 9, PageID.35 Filed 01/23/25 Page 3 of 6




   4. Discovery is needed to determine whether Plaintiff and/or Show Ready

Technologies, Inc. breached any material term or condition of any contract.

   5. Discovery is needed to ascertain to what extent Plaintiff suffered financial

injury as a direct and proximate result of any breach of the rental agreement at issue

in the controversy.

   6. The Parties propose nine months of discovery.

   7. The Parties agree that discovery need not be conducted in phases or be limited

or focused on particular issues, but if a discovery dispute arises, the Parties will try

to resolve it on their own before seeking assistance from the Court.

      III. ANY ISSUES ABOUT DISCLOSURE, DISCOVERY, OR
  PRESERVATION OF ELECTRONICALLY STORED INFORMATION,
   INCLUDING THE FORM OR FORMS IN WHICH IT SHOULD BE
                            PRODUCED
                     (Fed. R. Civ. P. 26(f)(3)(C))

   1. There are no currently contemplated issues about disclosure, discovery, or

preservation of electronically stored information, including the form or forms in

which it should be produced, but if a discovery dispute arises, the Parties will try to

resolve it on their own before seeking assistance from the Court.

       IV. ANY ISSUES ABOUT CLAIMS OF PRIVILEGE OR OF
PROTECTION AS TRIAL-PREPARATION MATERIALS, INCLUDING—
   IF THE PARTIES AGREE ON A PROCEDURE TO ASSERT THESE
CLAIMS AFTER PRODUCTION—WHETHER TO ASK THE COURT TO
 INCLUDE THEIR AGREEMENT IN AN ORDER UNDER FED. R. EVID.
                                 502
                     (Fed. R. Civ. P. 26(f)(3)(D))

                                           3
 Case 2:24-cv-12684-DPH-DRG ECF No. 9, PageID.36 Filed 01/23/25 Page 4 of 6




   1. There are no currently contemplated issues about privilege or of trial-

preparation materials, but if such a dispute arises, the Parties will try to resolve it on

their own before seeking assistance from the Court.

 V. WHAT CHANGES SHOULD BE MADE IN THE LIMITATIONS ON
 DISCOVERY IMPOSED UNDER THESE RULES OR BY LOCAL RULE,
     AND WHAT OTHER LIMITATIONS SHOULD BE IMPOSED
                 (Fed. R. Civ. P. 26(f)(3)(E))

   1. The Parties do not currently believe that any changes should be made

regarding limitations on discovery imposed by the Court Rules or Local Rules.

VI. ANY OTHER ORDERS THAT THE COURT SHOULD ISSUE UNDER
           RULE 26(C) OR UNDER RULE 16(B) AND (C)
                   (Fed. R. Civ. P. 26(f)(3)(F))

   1. The parties agree that a Protective Order can be entered covering materials

produced during discovery. They may submit an appropriate Stipulated Protective

Order to the Court.

   2. The Parties do not currently believe that any other orders should issue under

Fed. R. Civ. P. 16(b) or Fed. R. Civ. P. 16(c).

Respectfully submitted,

BRISTOW LAW, PLLC                        LAW OFFICE OF JAMES
                                         GEROMETTA


/s/ Kyle J. Bristow                      /s/ James Gerometta (with Consent)
Kyle J. Bristow (P77200)                 James R. Gerometta (P60260)
P.O. Box 453                             27 E. Flint St., Ste. 2
St. Clair, MI 48079                      Lake Orion, MI 48362
(T): (248) 838-9934                      (T): (313) 899-7826
                                            4
 Case 2:24-cv-12684-DPH-DRG ECF No. 9, PageID.37 Filed 01/23/25 Page 5 of 6




(F): (586) 408-6384                (E): james@geromettalaw.com
(E): bristowlaw@gmail.com          Attorney for Clay Street Entertainment, LLC
Attorney for America First
Foundation

Dated: January 23, 2025            Dated: January 23, 2025




                                     5
 Case 2:24-cv-12684-DPH-DRG ECF No. 9, PageID.38 Filed 01/23/25 Page 6 of 6




                          CERTIFICATE OF SERVICE

      I, Kyle J. Bristow, affirm that I am an attorney of record for a party to the

above-captioned civil action, and on January 23, 2025, I submitted this document to

the Court’s Electronic Filing System which should provide notice of said filing to

all attorneys of record for parties to the instant civil action who have registered to

receive such service.


                                           /s/ Kyle J. Bristow
                                           Kyle J. Bristow (P77200)
                                           P.O. Box 453
                                           St. Clair, MI 48079
                                           (T): (248) 838-9934
                                           (F): (586) 408-6384
                                           (E): bristowlaw@gmail.com
                                           Attorney for America First Foundation

Dated: January 23, 2025
